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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                          CRIMINAL ACTION NO. 3:22CR-84-RGJ


UNITED STATES OF AMERICA,                                                               Plaintiff,

v.

BRETT HANKINSON,                                                                      Defendant.

                                              ORDER

         Before the Court is the United States’ Motion for Permission for Limited Early

Disclosure of Sealed Information (DN 7). This motion is filed under seal. The United States

seeks permission to disclose the contents of the sealed indictment to both local law enforcement

and to the family of the victim. The United States does not provide a legal basis for their motion

and instead argues that the interest of public safety warrants disclosure to local law enforcement

to aid in the arrest of one of the indicted individuals. As for disclosure to the victim’s family, the

United States indicates concern that the indictments will be publicly leaked preventing an

opportunity to speak with the family and explain the charges before they are made available to

the public at large.

         Along with this motion, the United States also tendered a Motion to Seal the

Indictment. That motion was amended to allow the seal to be lifted upon the subjects of the

indictment being taken into custody. Given the request for seal and the amendment of the

request to include lifting of the seal as soon as individual defendants are taken into custody, the

undersigned finds that the request for early disclosure of sealed information is not well-

taken. Local law enforcement do not need to be told the substance of the sealed information to
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help effectuate arrests or ensure public safety. Likewise, the family of the victim may be

informed as soon as the subjects of the indictment are taken into custody.

       Accordingly,

       IT IS HEREBY ORDERED that the motion (DN 7) is DENIED.




 August 3, 2022




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